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IN TI-[E UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

BUTTE DIVISION
GINA JAEGER, individually, AND CV-l6-30-BU-SEH
AS PERSONAL
REPRESENTATIVE OF THE
ESTATE OF HER SISTER
CHARLENE HILL, NOTICE OF APPEAL
Plaintiffs,

VS.

PEAK MEDICAL MONTANA
OPERATIONS, LLC,

Defendant.

 

 

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Notice is hereby given that Gina Jaeger, individually, and as personal
representative of the estate of her sister Charlene Hill, Plaintiffs in the above
named case, hereby appeal to the United States Court of Appeals for the 9th
Circuit from an order compelling arbitration. The motion to compel Was
made on February l4th, 2017 and the order granting the motion to compel is
dated March lOth’ 2017.

Plaintiffs also appeal the order denying Plaintiffs motion to remand.
This motion Was made pursuant to 28 U.S.C. § l447(e). The order denying

remand was made on the 6th day of January, 2017.

By /s/ Torger Oaas

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